Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 1 of 15




                  EXHIBIT 10
             (File Under Seal)
Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 2 of 15




                               GIUFFRE

                                    vs.
                              MAXWELL
                                  Deposition


                          STEVEN W OLSON

                                 05/26/2016




           Agren Blando Court Reporting & Video, Inc.
                          216 16th Street, Suite 600
                          Denver Colorado, 80202
                               303-296-0017
Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 3 of 15
             Agren Blando Court Reporting & Video, Inc.

             IN THE UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF NEW YORK

Civil Action No. 15-cv-07433-RWS


CONFIDENTIAL DEPOSITION OF DR. STEVEN W. OLSON
May 26, 2016


VIRGINIA L. GIUFFRE,

Plaintiff,

V.

GHISLAINE MAXWELL,

Defendant.


APPEARANCES:

     S.J. QUINNEY COLLEGE OF LAW, UNIVERSITY OF UTAH
         By Paul G. Cassell, Esq.
            383 S. University Street
            Salt Lake City, UT 84112
            Phone: 801.585.5202
            Cassellp@law.utah.edu
            Appearing on behalf of the
            Plaintiff

     HADDON, MORGAN AND FORMAN, P.C.
         By Laura A. Menninger, Esq.
            150 East 10th Avenue
            Denver, CO 80203
            Phone: 303.831.7364
            lmenninger@hmflaw.com
            Appearing on behalf of the
            Defendant




                       STEVEN W OLSON 5/26/2016                       1
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 4 of 15
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 1                    Pursuant to Subpoena, Notice and the

 2     Federal Rules of Civil Procedure, the DEPOSITION OF

 3     DR. STEVEN W. OLSON, called by Defendant, was taken

 4     on Thursday, May 26, 2016, commencing at 8:54 a.m.,

 5     at 150 East 10th Avenue, Denver, Colorado, before

 6     Kelly A. Mackereth, Certified Shorthand Reporter,

 7     Registered Professional Reporter, Certified Realtime

 B     Reporter and Notary Public within Colorado.

 9

                                  * * * * * * *
10                                  I N D E X

11
       EXAMINATION                                                PAGE
12
         MS.   MENNINGER                                              4
13       MR.   CASSELL                                              109
         MS.   MENNINGER                                            127
14       MR.   CASSELL                                              136

15
       PRODUCTION REQUEST(S)
16
                                                                     44
17

18

19

20

21

22

23

24


25


                           STEVEN W OLSON 5/26/2016                        2
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 5 of 15
                 Agren Blando Court Reporting & Video, Inc.

 1                             INDEX OF EXHIBITS

 2
                                                                 INITIAL
 3     DESCRIPTION                                               REFERENCE

 4
         Exhibit 1      Authorization for the Release                 7
 5                      and Disclosure of Protected
                        Health Information and Medical
 6                      Records

 7       Exhibit 2      Subpoena to Produce Documents,                7
                        Information, or Objects or to
 8                      Permit Inspection of Premises in
                        a Civil Action
 9
         Exhibit 3      Subpoena to Testify at a                      8
10                      Deposition in a Civil Action

11       Exhibit 4      Document titled Centura Health               40
                        Physician Group Patient
12                      Information

13       Exhibit 5      Visit note for Dr. Olson                     43

14       Exhibit 6      Document titled Patient Health              100
                        Summary, The Entrance Medical
15                      Centre

16       Exhibit 7       Document titled Patient Health             105
                         Summary from Central Coast
17                       Family Medicine

18

19

20

21

22

23

24

25

                            STEVEN W OLSON 5/26/2016                         3
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 6 of 15
                   Agren Blando Court Reporting & Video, Inc.

 1             Q       All right.        Do you know how you came to be

 2      the doctor for Virginia Giuffre?

 3             A        No.   I -- she would have filled out a new

 4     patient packet and showed up for a new patient
 5      appointment for a particular reason.               I reviewed it.

 6

 7
      Jane Doe 2
 8             Q        Do you know where that new patient packet

 9      is now?

10             A        It's going to be scanned in the computer.

11      If you don't have it, I brought my computer.                I can

12     probably scan it and print it out or just print it

13      out.

14             Q        Is that among the documents that you have

15      next to you?

16             A        The new patient packet isn't here, but I

17      have it         I should have it on my computer.           I could

18      probably log in and print it, to be honest.                It
19      wouldn't be that hard.             I assumed that the hospital

20      is taking care of all the documentation that was

21      requested.       So I didn't actually bring it.

22             Q        I understand.
23             A        I actually have it, happen to have it with

24      me.

25             Q        All right.       Why don't we -- we can

                              STEVEN W OLSON 5/26/2016                       36
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 7 of 15
                  Agren Blando Court Reporting & Video, Inc.

 1     probably do that when we take a break in just a few

 2     minutes, and I can tell you how to get on the

 3      Internet and we'll see if that works.

 4            A        Um-hum.

 5            Q        Do you know how many times that you saw

 6     Virginia Giuffre?

 7            A        Once.

 8            Q        Do you know whether she was referred to

 9     you by another doctor?

10            A        No.

11            Q        Do you mean no, you don't know or

12            A        I have no idea.          I have no idea.     I don't

13     know why she would have been referred.                  Most the time

14     people are referring out.

15            Q        Right.

16            A        They don't refer back to a general

17     practitioner.

18            Q        No one ever refers anyone to you?

19            A        It generally goes the other direction.

20      Well, other patients might refer people to me, and

21      that happens, but

22            Q        Okay.     Do you know if you treat

23      Ms. Giuffre's children in your practice?

24            A        Not that I'm aware of.

25            Q        Do you know a woman by the name of Lynn

                             STEVEN W OLSON 5/26/2016                          37
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 8 of 15
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 1     Miller?

 2             A        I know several Millers.
 3             Q        Who works at Saint Thomas More Hospital?
 4             A        I think so, yeah.          That sounds familiar,
 5     yeah.
 6             Q        Do you know her professionally?
 7             A        Not really.
 8             Q        Okay.
 9             A        I mean, her name sounds familiar.

               Q        Do you know of any connection between Lynn

11      Miller and Virginia Giuffre?
12             A        None.     I have met Virginia once.           I only

13      saw her once, a year ago.              That's the extent of my --
14             Q        Have you ever read any media reports about

15      Ms. Giuffre?

16             A        No.     No, I haven't.           I don't know anything

17      about it.

18             Q        Okay.     Do you know how long --
19             A        She -- I believe she mentioned that it was

20      some kind of -- mentioned something about being a

21      famous sexual abuse something.
22             Q        You haven't read any of the reports?
23             A        I have no idea.
24             Q        Okay.     I'm just trying to establish your

25      sources information.

                              STEVEN W OLSON 5/26/2016                           38
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 9 of 15
                  Agren Blando Court Reporting & Video, Inc.

 1            A        Yeah.
 2            Q        So if you had information about

 3     Ms. Giuffre, other than your visit --

 4            A        Yeah.
 5            Q        -- do you know another source?

 6            A        No.
 7            Q        From family members?
 8            A        No.
 9            Q        From community members, anything?

10            A        Nothing.
11            Q       Do you know how long your visit with her

12      lasted?

13            A        It -- sometimes I document time spent, but

14      not always.       I mean, it's not important.          They're

15      half-hour visits typically.              It would have been a

16      half hour or less, I would expect.

17            Q        All right.       Before looking at your

18      records, is there anything about Ms. Giuffre that you

19      recall just from the top of your head?

20                     I understand you see many, many patients
21      and this was a year ago.             So you tell me.
22            A        Nothing.      I saw her once.       And when I went

23      back and read the note, I went, Oh, yeah, I remember

24      someone mentioning about being in a sexual abuse

25      trial or something, some kind of sexual abuse thing.

                             STEVEN W OLSON 5/26/2016                        39
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 10 of 15
                   Agren Blando Court Reporting & Video, Inc.

 1             Q        That's the only unusual part that stuck

 2      out?

 3             A        Yeah, and I don't really remember anything

 4      about her at all, actually, I don't.

 5             Q        Do you know what she looks like?

 6             A        No, I don't remember.            It was one time a

 7      year ago.       I don't remember.

 8             Q        I understand.        Okay.       If it's okay with

 9      you, I would like to take a break and see if we can

10      pull up the other records because I don't want to go

11      through my questions and then go back and look at

12      those records.          I'd rather do it one time.

13             A        Okay.

14             Q        Is that all right?

15             A        Yeah, I'm fine with that.

16                      MS. MENNINGER:         All right.       Let's go off

17      the record.

18                      (Recess taken from 9:41 a.m. to

19      10:07 a.m.)

20                      (Exhibit 4 marked.)

21             Q        (BY MS. MENNINGER)           So we're back on the

22      record.      All right.

23                      I'm going to give you a document marked as

24      Exhibit 4 .      And I'm going to make a small record

25      about what just took place off the record, which is

                              STEVEN W OLSON 5/26/2016                         40
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 11 of 15
                    Agren Blando Court Reporting & Video, Inc.

 1      that you, as I understand it, and tell me if I'm

 2      wrong, have access to medical records from your

 3      office on your laptop, correct?

 4              A        Yes.

 5              Q        Okay.     And you were able to get on your

 6      laptop and print out records related to Ms. Giuffre

 7      that you had on that laptop, correct?

 8              A        Yes.

 9              Q        And we printed that out and made copies

10      for everyone here, and that's what you see in front

11      of you as Exhibit 4, correct?

12              A        Yes.

13              Q        We made those printouts on a portable

14      printer.       So they're not the best quality, correct?

15              A        Correct.

16              Q        And some portions are not printing out as

17      well?

18              A        Yes.

19              Q        And you, I think, would be okay with

20      sending us a more complete set later?

21              A        Yes.

22              Q        All right.        I'm going to take just a

23      minute to review it.

24                       Can you tell us what the records that you

25      just printed out in Exhibit 4 represent?

                                STEVEN W OLSON 5/26/2016                    41
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 12 of 15
                   Agren Blando Court Reporting & Video, Inc.

 1            A         Generally it's demographics information

 2      and then a list of medications, a list of surgeries,

 3      a list of family medical history, and then a list of

 4      physical complaints that there's some -- it's called

 5      review of systems, things someone has been feeling
 6      and self-reported in the last two weeks.
 7            Q         Okay.     So is this typically          is this

 8      patient information document typically in the

 9      patient's handwriting?
10            A         Yes.
11            Q         And I presume you don't know Ms. Giuffre's

12      handwriting?

13            A         No.
14            Q         But it's a practice to ask the patient to

15      fill these forms out?

16            A         Yes, and then have it there before their

17      appointment.

18             Q        All right.        So if I see the date reflected

19      on the top of the first page as May 21st, 2015 --

20            A         Um-hum.
21             Q        -- do you believe that to be the date that

22      you actually saw Ms. Giuffre?
23             A        Probably, yes.
24             Q        Okay.
25             A        Sometimes people will bring it in early,

                               STEVEN W OLSON 5/26/2016                     42
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 13 of 15
                  Agren Blando Court Reporting & Video, Inc.

 1      but yeah.

 2            Q        Okay.     Why don't we go ahead and mark

 3      Exhibit 5, which will be helpful as we're going

 4      through this.

 5                     (Exhibit 5 marked.)
 6            Q        (BY MS. MENNINGER)            And I'm going to ask

 7      you to keep 4 and 5 kind of close by, and we'll talk

 8      about them.

 9                     Do you recognize Exhibit 5?
10            A        Yes.     That's the visit note.
11            Q        And the visit note of Ms. Giuffre's visit
12      with you?

13            A        Yes.

              Q        In your office?

15            A        Yes.

              Q        And after looking at Exhibit 5, can you

17      tell what date it is that you actually saw

18      Ms. Giuffre?

19            A        5/21/2015.
20            Q        Okay.      Is that also the same date as the

21      patient intake form
22            A        Yes.
23            Q        -- in Exhibit 4?

24            A        Yes.
25            Q        All right.        Do you recall whether you

                              STEVEN W OLSON 5/26/2016                      43
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 14 of 15
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 1      STATE OF COLORADO)

 2                                  ss.       REPORTER'S CERTIFICATE

 3      COUNTY OF DENVER

 4                   I, Kelly A. Mackereth, do hereby certify

 5      that I am a Registered Professional Reporter and

 6      Notary Public within the State of Colorado; that

 7      previous to the commencement of the examination, the

 8      deponent was duly sworn to testify to the truth.

 9                   I further certify that this deposition was

10      taken in shorthand by me at the time and place herein

11      set forth, that it was thereafter reduced to

12      typewritten form, and that the foregoing constitutes

13      a true and correct transcript.

14                   I further certify that I am not related to,

15      employed by, nor of counsel for any of the parties or

16      attorneys herein, nor otherwise interested in the

17      result of the within action.

18                   In witness whereof, I have affixed my

19      signature this 31st day of May, 2016.

20                   My commission expires April 21, 2019.

21

22
                             Kelly A. Mackereth, CRR, RPR, CSR
23                           216 - 16th Street, Suite 600
                             Denver, Colorado 80202
24

25

                            STEVEN W OLSON 5/26/2016                        140
     Case 1:15-cv-07433-LAP Document 1325-12 Filed 01/04/24 Page 15 of 15
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 3      Boulder, Colorado 80303

 4

 5

 6                       DR. STEVEN W. OLSON
                            May 26, 2016
 7                        Giuffre v. Maxwell
                       Case No. 15-cv-07433-RWS
 8


 9
        The original deposition was filed with
10
        Laura Menninger, Esq., on approximately the
11
        31st day of May, 2016.
12
         XXX    Signature waived.
13
                Unsigned; signed signature page and
14              amendment sheets, if any, to be filed at
                trial.
15
                Reading and signing not requested pursuant
16              to C.R.C.P. Rule 30(e).

17              Unsigned; amendment sheets and/or signature
                pages should be forwarded to Agren Blando to
18              be filed in the envelope attached to the
                sealed original.
19

20

21      Thank you.

22      AGREN BLANDO COURT REPORTING & VIDEO, INC.

23      cc:    All Counsel

24

25

                            STEVEN W OLSON 5/26/2016                        141
